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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

vs.                                                         Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

                       STIPULATED ORDER GRANTING
               MOTION TO EXTEND MOTION TO COMPEL DEADLINE

       THIS MATTER having come before the Court on Defendants Meow Wolf, Inc. and Vince

Kadlubeck (collectively, “Defendants”) Unopposed Motion to Extend Motion to Compel Deadline

(“Motion”). [D.E. 124]. This Court having considered the Motion and being otherwise fully

advised in the premises and for good cause shown, FINDS that it is well taken.

       IT IS HEREBY ORDERED that the parties shall have until May 26, 2021 to file any

motions to compel regarding (1) Plaintiff’s Objections and Responses to Defendant Meow Wolf,

Inc.’s First Set of Interrogatories to Plaintiff Lauren Oliver, and (2) Plaintiff’s Objections and

Responses to Defendant Meow Wolf’s First Set of Requests for Production of Documents or

Things to Plaintiff Lauren Oliver.

Dated: May 13, 2021




                                                    Honorable Steven C. Yarbrough
                                                    United States Magistrate Judge
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                                                    Respectfully submitted,

                                                    BARDACKE ALLISON LLP

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                                                    Attorneys for Defendants Meow Wolf, Inc.
                                                    and Vince Kadlubeck

Approved by:

ERICKSEN ARBUTHNOT

By:   /s/ Jesse A. Boyd
      (approved via email 5/13/21)
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